UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

ADRIAN L. DUNN

Petitioner, MOTION TO SET ASIDE DECLARATION

OF FORFEITURE PURSUANT TITLE

Vs. 18 U.S.C. §983(e)

UNITED STATES OF AMERICA,
Defendant.

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COMES NOW, Adrian L. Dunn, the petitioner in the above case
action, and hereby file this Motion To Set Aside Declaration of
Forfeiture Pursuant To Title 18 U.S.C. §983(e). The petitioner

file the before mentioned motion as a pro se litigant.

Statement of Facts: ft.

On June 12, 2009, Special Agent Mark King of "ICE" executed a

search warrant for the residence of 8717 Kentucky Avenue, Kansas
City, Missouri and 912 West 98th Street, Kansas City, Missouri
by Federal Law Enforcement Officers. During the execution of the
warrant for the residencé of 8717 Kentucky Avenue the ICE Agents
seized petitionér's 1974 Chevy Caprice (VIN #V47R4J212602), and
$41,000 in U.S. Currency that was found by IGE Agents in the

trunk of the seized Chevy Caprice.

During the execution of the warrant for the residence of
912 West 98th Street the ICE Agents seized petitioner's 2005
Chevy Corvette (VIN #1G1YY22U855128951).

After the seizure of the petitioner's before mentioned property

U.S. Customs and Border Protection, operating within the

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Department of Homeland Security, presented petitioner with

a "Notice Of Seizure Of Property" that contained the property

of a 2005 Chevrolet Corvette (FP&F Case #2009 4501 000082 01),
and a 1974 Chevy Caprice (FP&F Case #2009 4501 000081 01).

The tiotice. advised petitioner. that the property listed was
subject to administrative forfeiture under the provisions of
Title 21 U.S.C. §881, §841, and §846, and his rights regarding
said procedures. The property of the $41,000 in U.S. Currency
was never listed in the Notice Of Seizure as being property that

was seized and subject to administrative forfeiture.

On September 4, 2009, the petitioner filed a petition for return
of his property with the Department of Homeland security/ U.S.
Customs and Border Protection. The DHS denied said petition

on the grounds that the AUSA had indicted the property herein
which petitioner was claiming interest in. The DHS informed
petitioner that because the AUSA had indicted his property the
DHS could not do anything with the property until the AUSA case
plays out (is completed)..

The letter from DHS informing petitioner that DHS could not
proceed with administrative forfeiture proceedings of his
property was undated, but the-anvekgpeinwhich the letter was
contained was postage stamp dated September 2, 2010. The record
shows that the government indicted petitioner's property on

August 20, 2009.
On October 21, 2009, after DHS had informed petitioner that

his property had been indicted by the AUSA, DHS proceeded with

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their administrative forfeiture proceedings, and did forfeit
petitioner's property of a 2005 Chevrolet Corvette,
(VIN 1G614Y22U855128951).

On April 20, 2011, after DHS had informed petitioner that his
property had been indicted by the AUSA, DHS proceeded with

their administrative forfeiture proceedings, and did forfeit
petitioner's property of $41,000 in U.S. Currency, eventhough

this property was never listed on any documents for administrative

forfeiture.

The AUSA, after trial was over, chose not to proceed with civil

forfeiture of petitioner's indicted property.

Argument In Support of Motion:

Title 18 U.S.C. §983(a)(1)(A)(i):

This subsection holds that "Except as provided in clauses (ii)
through (v).in any non judicial civil forfeiture proceeding
under a civil forfeiture statute, with respect to which the
government is required to send written notice to interested
parties, such notice shall be sent in a manner to achieve proper
notice as soon as practicable, and in no case more than 60 days

after the date of the seizure.

Title 18 U.S.C. §983(1)(F):

If the government does not send notice of a seizure of property
in accordance with subparagraph (A) to the person from whom
the property was seized, and no extension of time is granted,

the government shall return the property to that person, ect..

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$41,000 In U.S. Currency:

Eventhough the statute requires that the government provide
written notice to petitioner the facts and evidence in this

case will clearly show that DHS never provided petitioner with

a written notice that the $41,000 had been seized and was subject

to administrative forfeiture. See Exhibit A&B (Notices of seizure

of all property seized during the warrant execution). As you can
see, there is no mentioning of the $41,000 seized by agents

from the trunk of the Chevy Gaprice located at 8717 Kentucky
Avenue, Kansas City, Missouri. There is no chain of custody or
inventory receipt documented for the $41,000 after the agents

and DHS seized it.

After the government chose not to proceed with the civil
forfeiture proceedings of the indicted currency, DHS, again, did
not provide petitioner with a notice of seizure of property for
the currency, in the 60 days that is statutory required, before

DHS administratively forfeitured the property.

Title 18 U.S.C. §983(e):

This subsection holds that "Any person entitled to written
notice in any non-judicial civil forfeiture proceeding under

a civil forfeiture statute who does not receive such notice may
file a motion to set aside a declaration of forfeiture with
respect to that person's interest in the property, which motion
shall be granted if--

(A) the government knew, or reasonably should have known, of

the moving party's interest and failed to take reasonable steps

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to provide such party with notice; and
(B) the moving party did not know or have reason to know of the

seizure within sufficient time to file a timely claim."

Petitioner initially petition DHS to contest the seizure and
administrative forfeiture of his property, before the AUSA indicted
the property, but his petition was denied based on the fact that
the property was now under judicial jurisdiction which would
terminate any administrative forfeiture proceeding under all

non~judicial forfeiture statutes.

On September 2, 2010, DHS sent petitioner a letter that stated

in part, "Your petition for these items was denied because the
case went to the AUSA for indictment. I can not do anything at
this point with those items until the AUSA's case plays out.

I will respond to your petition once that happens." See Exhibit Cc

(Letter from Fines, Penalties & Forfeiture officer for DHS).

The letter clearly states that I would have my denied petition
responded to once the criminal case is concluded. After the case
was concluded I was never contacted or given a notice that

DHS had re-initiated the administrative proceeding of conducting
a forfeiture of the property. In stead, DHS forfeited the property
while knowing petitioner had an interest in the seized property
and §983 required DHS to take reasonable steps to provide him
with a notice. The letter from DHS (Exhibit C) shows that DHS

was aware of its obligations under the statute but failed to
conduct such. Petitioner did not know or have reason to know

of the continued administrative forfeiture proceedings when he

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was informed that he would hear a response for his initial

petition when the criminal case was over. This means that when

the criminal case is over DHS has obligated itself to contact
petitioner regarding any further administrative action involving
petitioner's property. Petitioner was following instruction

given to him by DHS. Pursuant to Title 18 U.S.C. §983(e) petitioner
is entitled to relief do to DHS violated petitioner's right to

due process under the law when DHS failed to follow the statutory

requirements under §983 inregards to the $41,000 in U.S. Currency.

Being that there was never a notice of seizure of property issued
for the $41,000 in U.S. Currency when it was initially seized,

after the government chose not to conduct forfeiture proceedings,
and when the DHS retained jurisdiction over the property, petitioner

is entitled to the return of his $41,000 seized by DHS.

2005 Chevrolet Corvette:

In regards to petitioner's property of a 2005 Chevrolet Corvette
petitioner was properly provided with a notice of seizure of
property listing the corvette as property subject to administrative
forfeiture. Petitioner properly claimed interest in his corvette

by filing.a petition contesting the seizure of the seized

property. Herein, the same as the issue with the $41,000, DHS

sent petitioner a letter post marked September 2, 2010 (Exhibit C)
Stating that the petition had been denied because the case went

to the AUSA for indictment, and there was nothing DHS could do
with the property until the AUSA case plays out. After the

criminal case was over the government chose not to conduct

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civil forfeiture of the indicted property named herein this

motion and allowed DHS to continue its administrative forfeiture
proceedings. This is when DHS could have administratively
forfeited the corvette, not until then. After DHS sent petitioner
Exhibit C petitioner was sent another letter on September 17,. 2010

by DHS stating in part.the following:

"Our files indicates that a notice of seizure was sent to you
and that you responded with a petition. The items seized were
indicted by the U.S. Attorney's Office, therefore we responded
to your petition, through your lawyer, that your petition was
denied and that you had thirty days to respond. No further
correspondence was received. Administrative forfeiture of the
vehicle was therefore continued and completed. Upon forfeiture,
the government sold the vehicle at auction." See Exhibit D

(Letter from DHS stating they had forfeited the property).

The above statement by DHS has no standing in the interest of
petitioner's property do to the fact when the AUSA indicted

the property it could not be administratively forfeitured, and
to do so ts fatrae ten on the jurisdiction of the court. The DHS.
was aware of this that is why they stated in the letter to
petitioner (Exhibit C) that they could not do anything with

the property because the AUSA:had indicted it.

On December 17, 2012 petitioner filed a motion to vacate the
administrative forfeiture by DHS, and on January 16, 2013

the government filed an opposition to petitioner's motion.

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At this time is when the government first revealed the date
that petitioner's property of a Chevrolet Corvette was forfeited,
which was October 21, 2009. See Exhibit E (Date of order of

forfeiture of Chevrolet Corvette).

It is clearly shown that when DHS sent petitioner the letter
in Exhibit C they had already administratively forfeited the
petitioner's property and sold it at auction. So why would

the DHS send petitioner a letter stating as said?

The actions of DHS is... such ag them acting under a separation

of powers. The DHS does not have the authority to take the
action that it did once the AUSA invoked Rule 32.2. See

United States v. Dunn, 723 F.3d 919 (8th cir. 2013). The Appeals

Court held that in the issue challenging the: administrative

forfeiture of petitioner's property under §983:
Pp p

"If he (petitioner) can establish that the government invoked

its right to seek criminal forfeiture and then improperly. proceeded
to administratively forfeit his (petitioner) personal interests

in property named in the superseding indictment, the court will
need to decide whether he is entitled to §983(e) relief."

The evidence has clearly established exactly what the Appeals

Court stated, entitling petitioner to relief pursuant to §983

by way of returning all petitioner's property named in the
superseding indictment, including his 1974 Chevrolet Caprice

(VIN #IN47R4J212607).

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Back To The Question of "Why Would DHS Send Exhibit C After
The Chevrolet Corvette Had Already Been Sold At Auction":

Peititoner would bring to this court's attention the fact of

the agents who seized the Chevrolet Corvette took a personal
interest in this car and made statements that they were going

to take personal ownership of said vehicle. And after the vehicle
was seized the case agents continued to seek personal ownership

of the vehicle.

The Fines, Penalties & Forfeiture officer for DHS went out on

a limb of her career when she sent petitioner the letter in

Exhibit C. This officer's job assignment was invoked by her

in the letter. She stated that "My job is to monitor administrative
forfeiture of property that has been seized by Officers and

Agents of the department." “So,°when the DHS.officer sent: the
fetter in Exhibit C she should. have been aware of any administrative
forfeiture proceedings conducted at that time inwhere petitioner's
Chevrolet Corvette was subject of such. It was clear by the

order mentioned by the AUSA in Exhibit E that there was an
administrative forfeiture proceedings and forfeit in regards to
petitioner's Chevrolet Corvette on October 21, 2009. For this
officer, under her job title, not to be aware of this is to

question the fact of whether there was actually an administrative

forfeiture peoceedings for petitioner's Chevrolet Corvette.

Petitioner request that this court conduct limited discovery
into the alleged administrative forfeiture proceeding for said

property and government auction proceedings in order to see

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if there was a DHS administrative forfeiture proceeding inwhere
petitioner's Chevrolet Corvette, Chevrolet Gaprice, and $41,000

in U.S. Currency were forfeited.

Petitioner's allegations that there was not a forfeiture proceeding
inwhere his property was forfeited is based on the fact that he
made a freedom of information request, pursuant to the Freedom

of Information Act (FOIA), to DHS requesting all documents that
pertained to the seizure and forfeit of his property by DHS and
they responded by providing petitioner with all documents related
to the seizure and forfeiture of his property, but there was no
documents declaring that petitioner's property was actually

forfeited.

There are no “Declaration of Forfeiture" documents declaring any

of petitioner's property being forfeited to the United States.

Any property being forfeited must be documented, speaking for the
Chevrolet Corvette and Caprice. As for the $41,000 in U.S. Currency,
it could never be forfeited legally do to it did not have a

seizure number, and property must have a seizure number in order

to be forfeited to the United States.

As stated before, petitioner's property of $41,000 was never
listed by DHS as property seized and subject to administrative
forfeiture. In fact, the only record of the $41,000 being seized
by DHS is the record created by petitioner when he wrote a
letter to DHS making them aware of the fact said currency was

seized by agents. After the letter DHS still did not list the

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U.S. currency as property seized for forfeiture, nor did they

provide a seizure number for this seized property.

This answer. the question of "Why would DHS send petitioner
Exhibit C after the Chevrolet Corvette had been allegedly forfeited
and sold at auction." Because there were no documents/records of the

property being forfeited at the time she sent Exhibit C.

The DHS officer letter sent to petitioner in Exhibit D is conf Llicting
with the letter sent in Exhibit C. She just stated in Exhibit.c

that "she could not do anything with the property until the AUSA
case was completed, do to the AUSA had indicted the property.

Now,.in Exhibit D, she claims that the property has been forfeited
and sold at auction. This letter in Exhibit D is a shameful

attempt by the DHS officer to cover up the wrong doing by the

agents. In fact, the letter in Exhibit D is the same as a doctor

treating a broken leg by placing a band-aid on it.

In United States v. 7215 Longboat Drive (Lot 24), 750 F.3d 968

(8th cir. 2014), this circuit held the following:

"It is well-established that forfeiture statutes are strictly
construed against the government. Forfeitures are not favored
in the law; strict compliance with the letter of the law by those

seeking forfeiture must be required."

The facts presented in this motion, and the evidence that follows,
clearly show,. and will show, that not only did the agents and

DHS not follow the letter of the Law under the administrative

forfeiture statues and DHS's policy dealing with the seizure and

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forfeiture of property, but the facts and evidence will also
show that the agents and DHS violated petitioner Constitutional
Rights of Due Process and broke the law during the seizure and

forfeiture of petitioner's property.

CONCLUSION:

Petitioner respectfully move this Honorable Court to GRANT his
motion by ordering. DHS to return all of petitioner's seized

property mentioned herein as justice requires.

Respectfully Submitted by,

Date: 2-2¢-20/35~ (AN iat . WL i pv SA.

rian L. Dtimnn 1
F.C.I. Oakdale-Louvisiana
P.O. Box 5000
Oakdale, Louisiana 71463

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CERTIFICATE OF SERVICE

I, Adrian L. Dunn, do certify that a copy of the foregoing
instrument was hand delivered to the F.C.I. Oakdale inmate
mailbox in order to be mailed to to the following name and

address on Februory 2h 2s:

Date: 2-24- AOS” Mol) 2 hinny Sh.
Adrian L. bunn -

F.C.I. Oakdale-Louisiana
P.0Q. Box 5000
Oakdale, Louisiana 71463

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